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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 NATIONAL TREASURY
 EMPLOYEES UNION, et al.,
                Plaintiffs,
      v.

 RUSSELL VOUGHT, in his official capacity              Case No. JK-cv-MNO-ABJ
 as Acting Director of the Consumer Financial
 Protection Bureau, et al.,

                        Defendants.


                         DECLARATION OF JENNIFER BENNETT

       I, Jennifer Bennett, declare as follows:

   O. I am a principal at Gupta Wessler LLP and am counsel for the plaintiffs in this case.

   J. Around J:MUpm ET on April OV, JUJK, we began to receive word that the CFPB was sending

out reduction-in-force notices. As we understand it, approximately YU% of the Bureau’s employees

have received these notices.

   M. The termination notices state that the employees’ access to CFPB’s systems will end on

April ON, JUJK at \pm ET.

   ]. We still do not have complete information about exactly who was terminated. But the

information we do have suggests that it at least included everyone or almost everyone in the

following divisions, offices, and units:

       •   All of consumer response, with the exception of N managers

       •   Everyone on the team that oversees the contractors managing the CFPB’s network,
           including the system in which CFPB data is stored, which requires regular maintenance
           and back-up

       •   Virtually everyone in the Research, Monitoring, and Regulations Division, including
           the entire Office of Research, except the Assistant Director; all of Markets, except the
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           head; virtually all of Regulations; and virtually everyone in the Office of Consumer
           Populations

       •   Everyone in the Office of Supervision Policy except the head of the Office

       •   Everyone in Office of Supervision Examinations except the head of the Office

       •   Virtually everyone in the Office of Consumer Populations, including the entire Office
           of Servicemember Affairs and the Office of Older Americans

       •   Everyone working on natural disaster response

       •   Everyone in the Office of Fair Lending

       •   All of the Home Mortgage Disclosure Act operations team

       •   All of the Office of Civil Rights, with the exception of the Director.

       •   The entire general law and ethics staff

       •   The entire Office of Financial Education, except two managers.

       •   Every staff member in the Disability and Accessibility Program, which ensures that the
           Bureau can reasonably accommodate people with disabilities and that its public
           materials are in compliance with the Rehabilitation Act.

       •   Virtually everyone in each of the following offices: FOIA, Privacy, Records, Security,
           and Cybersecurity

       •   The vast majority of enforcement employees, including the entire e-discovery team, all
           investigators, and all economists

       •   Virtually everyone in External Affairs

       •   Everyone in the Office of Community Affairs

       •   The legal team in the CFPB’s front office

   K. We do not believe that this is a complete list of the divisions, offices, and units that were

eliminated or virtually eliminated.

   \. As recently as Monday, April O], JUJK, the CFPB was telling employees that leadership

had not made a decision on any reduction-in-force plan. An email from the Office of Human

Resources to a CFPB employee to this effect is attached as Ex. A. We believe the person who sent


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this email has herself received a reduction-in-force notice and will have her access shut off on

April ON at \pm ET.

   V. We have been informed that Chief Operating Officer Adam Martinez repeatedly stated that

CFPB leadership would not consult managers of the programmatic units of the Bureau in

determining who would be terminated—and that managers were not, in fact, consulted.

       I declare under penalty of perjury, pursuant to JN U.S.C. § OV]\, that the foregoing is true

and correct.



Executed in San Francisco, CA on April OV, JUJK.


                                                            /s/ Jennifer Bennett
                                                            Jennifer Bennett




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         Exhibit A
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